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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORI(
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

UNITED STATES OF AMERICA                                         ORDER

        - v.-                                                    22 Cr. 673 (LAK)

SAMUEL BANKMAN-FRIED,

                              Defendant.
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

                    Upon the annexed application of DAMIAN WILLIAMS, United States Attorney

for the Southern District of New York, for an order pursuant to Title 18, United States Code,

Sections 6002 and 6003, compelling ADAM YEDIDIA ("YEDIDIA") to testify and to provide

other information in United States v. Bankman-Fried, 22 Cr. 673 (LAK), in the United States

District Comi for the Southern District of New York, and upon the declaration of Assistant United

States Attorney Thane Rehn, submitted in support thereof; and it appearing that,

                    1.        YEDIDIA is scheduled to appear as a witness in United States v. Banlanan-

Fried; and,

                    2.        It is expected that YEDIDIA will refuse to testify on the basis of his

privilege against self-incrimination; and,

                   3.         It is the judgment of the United States Attorney that the testimony and other

information that YEDID IA could give in United States v. Banlanan-Fried may be necessary to the

public interest; and,
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                  Upon the approval of the aforesaid application by the Department of Justice, by the

 Deputy Assistant Attorney General, pursuant to the authority vested in her by Title 18, United

 States Code, Section 6003 and 28 C.F.R. 0.175; it is hereby:

                  ORDERED that, pursuant to Title 18, United States Code, Sections 6002 and 6003,

 YEDIDIA give testimony and provide other information as to all matters about which he may be

. questioned in United States v. Bankman-Fried; and

                  IT IS FURTHER ORDERED that, pursuant to Title 18, United States Code,

 Sections 6002 and 6003, no testimony or other information compelled under this Order, or any

 information directly or indirectly derived from such testimony or other information, may be used

 against YEDID IA in any criminal case, except a prosecution for pe1jury, giving a false statement,

 or otherwise failing to comply with this Order.

                  This order shall become effective only if after the date of this Order YEDID IA

 refuses to testify or provide other information on the basis of his

 incrimination.




                                               United States District Judge


 Dated: New York, New York
        ~er         ,2023
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